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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CYNTHIA DONALD,                                  )
                                                 )    Case No. 20 cv 6815
              Plaintiff,                         )
v.                                               )    Hon. Elaine E. Bucklo
                                                 )
CITY OF CHICAGO et al.,                          )    Magistrate Judge Jeffrey Cole
                                                 )
              Defendants.                        )

                   DEFENDANT CITY OF CHICAGO’S UNOPPOSED
                   MOTION FOR LEAVE TO FILE OVERSIZED BRIEF

        Defendant City of Chicago, through the Office of Corporation Counsel of the City of

Chicago, moves for leave to file a Memorandum of Law in Support of its Motion for Summary

Judgment of 22 pages, and to allow Plaintiff Cynthia Donald to file a Response Brief of the same

length, pursuant to Local Rule 7.1. This motion is unopposed.

        1.     Plaintiff and Chicago Police Officer Cynthia Donald (“Donald”) alleges Defendant

and former Police Superintendent Eddie Johnson (“Johnson”) sexually harassed and assaulted her

while she was detailed to the Office of the Superintendent between 2016 and 2019. Donald asserted

two claims against the City: Count I for sexual harassment under Title VII of the Civil Rights Act of

1964, as amended, 42 U.S.C. §§ 2000e et seq. (“Title VII”); and Count III for deprivation of due

process and equal protection rights pursuant to section 1 of the Civil Rights Act of 1871, as

amended, 42 U.S.C. § 1983 (“Section 1983”).

        2.     The City is prepared to file a motion for summary judgment on Counts I and III of

Donald’s Amended Complaint on or before May 29, 2023. See Minute Order, CM/ECF # 211. In

order to adequately summarize the facts and set forth the legal arguments in support of summary

judgment, counsel for the City respectfully requests leave to file a Memorandum of Law in support

of the motion of 22 pages in length. The additional pages are reasonably necessary to address the
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City and Chicago Police Department policies and procedures on sexual harassment, the

circumstances surrounding Donald’s detail to the Office of the Superintendent, Donald and

Johnson’s relationship between 2016 and 2019, the incident of October 16, 2019 which resulted in

Donald’s detail to a separate office within police headquarters, the circumstances surrounding

Donald and Johnson’s leaving the Department, Donald’s report of Johnson’s alleged conduct in

2020, and the four legal arguments supporting summary judgment in favor of the City on both of

Donald’s claims.

       3.      Counsel for Donald and Johnson have no objection to this motion.

       4.      Counsel for Donald also requests leave to file a brief in response to the City’s motion

of 22 pages in length.

       For the foregoing reasons, the City respectfully requests the Court enter an Order;

       a.      granting the City leave to file a 22-page Memorandum of Law in support of its

motion for summary judgment;

       b.      granting Donald leave to file a 22-page brief in response to the City’s motion for

summary judgment; and

       c.      other relief the Court deems appropriate.

Dated: May 23, 2023                          Respectfully submitted,

                                             Corporation Counsel of the City of Chicago

                                             By: s/ Mark J. Bereyso
                                             Mark J. Bereyso
                                             Matthew E. Suhl

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